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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


 XYZ CORPORATION,

                Plaintiff,

         V.

                                                                 Case No. 1:23-cv-00673(PTG/JFA)
 THE UNINCORPORATED ASSOCIATIONS
     IDENTIFIED IN SCHEDULE A,

                Defendants.


                                             ORDER


        This matter comes before the Court on Plaintiffs Ex Parte Motion for Temporary Asset

Restraint and Expedited Discovery ("Motion"). Dkt. 28. The Court held a hearing on the Motion

on June 8, 2023. Upon consideration of the Motion, the Verified Complaint (Dkt. 6), the

memorandum and exhibits in support of the Motion, and counsel's arguments, and for the reasons

stated in open court at the June 8, 2023 hearing, the Court finds and concludes that, pursuant to

Federal Rule of Civil Procedure 65(b)(1), a sufficient showing has been made to issue a temporary

restraining order without notice to Defendants identified in Schedule A to the Verified Complaint

("Defendants") because, if notice is given to Defendants, it is likely that Defendants will evade the

reach of this Court, which will detrimentally impact Plaintiffs ability to seek redress.

        Further, the Court finds and concludes that a sufficient showing has been made to restrain

temporarily the transfer of any assets from Defendants' PayPal and Alipay accounts associated

with the sale of counterfeit goods bearing Plaintiffs federally-registered trademarks, including an

adequate showing as to the likelihood of success on Plaintiffs claims that Defendants have used

Plaintiffs trademarks without authorization, which will continue to cause confusion, mistake,
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and/or deception among consumers and the public as to Plaintiffs products and dilute the
 distinctive quality ofPlaintiffs trademarks; the threat ofirreparable harm to Plaintiff as a result of
 Defendants' alleged continued infringement and the risk that Defendants will transfer all assets
 from their accounts in the absence ofa temporary freezing oftheir accounts(potential harms which
 outweigh any demonstrated harm Defendants will suffer from the temporary freezing of assets in
 their accounts); the balance of equities in Plaintiffs favor; and the public interest that strongly
 supports granting the temporary freeze of assets.

        The Court further finds and concludes that expedited third-party discovery to ascertain

 Defendants' identities and the location and value of Defendants' financial accounts related to the

 sale of the counterfeit goods named in the Verified Complaint is necessary. Accordingly, a
 temporary restraining order is appropriate. For these reasons, it is hereby
        ORDERED that Plaintiffs Ex Parte Motion for Temporary Asset Restraint and Expedited

 Discovery (Dkt. 28)is GRANTED;and it is further

        ORDERED that PayPal shall immediately freeze all PayPal accounts associated with
 Defendants identified in Schedule A to the Verified Complaint and restrain and enjoin the transfer

 ofany monies held in such accounts until further ordered by this Court; and it is further
        ORDERED that Plaintiff may immediately serve limited discovery on PayPal sufficient

 to discover the amounts ofany monies held by PayPal in association with Defendants identified in
 Schedule A to the Verified Complaint as well as any name, email address, address, telephone

 number, and bank account associated with such PayPal account(s); and it is further

         ORDERED that Alipay shall immediately freeze all Alipay accounts associated with
 Defendants identified in Schedule A to the Verified Complaint and restrain and enjoin the transfer

 of any monies held in such accounts until further ordered by this Court; and it is further
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        ORDERED that Plaintiff may immediately serve limited discovery on Alipay sufficient to

 discover the amounts of any monies held by Alipay in association with Defendants identified in
 Schedule A to the Verified Complaint as well as any name, email address, address, telephone
 number,and bank account associated with such Alipay account(s); and it is further
        ORDERED that Plaintiff may immediately serve limited discovery on eBay sufficient to

 discover the amounts of any monies held by eBay in association with Defendants identified in
 Schedule A to the Verified Complaint as well as any name, email address, address, telephone
 number, and bank account associated with such eBay account(s); and it is further
        ORDERED that Plaintiff may immediately serve limited discovery on Wish sufficient to
 discover the amounts of any monies held by Wish in association with Defendants identified in
 Schedule A to the Verified Complaint as well as any name, email address, address, telephone
 number, and bank account associated with such Wish account(s); and it is further
         ORDERED that Plaintiff may immediately serve limited discovery on AliExpress

 sufficient to discover the amounts of any monies held by AliExpress in association with
 Defendants identified in Schedule A to the Verified Complaint as well as any name,email address,

 address, telephone number, and bank account associated with such AliExpress account(s); and it
 is further

         ORDERED that any information disclosed to Plaintiff in response to discovery issued
 pursuant to this Order may be used solely for the purpose of protecting Plaintiffs rights as set forth
 in the Verified Complaint; and it is further

         ORDERED that pursuant to Federal Rule of Civil Procedure 65(c), Plaintiff shall post
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cash or other security in the amount of$1,000.00.



Entered this _&^ay ofJune, 2023.                              iW 1(^1
Alexandria, Virginia                                Patricia Toflfver GlleS
                                                    United States District Judge
